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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ROCHELLE GARZA, as guardian ad litem to )
unaccompanied minor J.D., on behalf of         )
herself and others similarly situated, et al., )
                                               )
                       Plaintiffs,             )
 v.                                            )       No. 17-cv-02122-TSC
                                               )
ALEX M. AZAR II, et al.,                       )
                                               )
                       Defendants.             )
                                               )

             PLAINTIFFS’ REPLY TO DEFENDANTS’ OPPOSITION
       TO PLAINTIFFS’ MOTION FOR LEAVE TO AMEND THE COMPLAINT

       Defendants’ Opposition to Plaintiffs’ Motion for Leave to Amend the Complaint, ECF

No. 119, falls far short of satisfying Defendants’ burden to overcome what they concede is the

general rule – that leave to amend a complaint pursuant to Fed. R. Civ. P. 15(a) should be “freely

give[n].” Defs.’ Br. at 2; see also Council on Am.-Islamic Relations Action Network, Inc. v.

Gaubatz, 891 F. Supp. 2d 13, 22 (D.D.C. 2012) (“Because leave to amend should be liberally

granted, the party opposing amendment bears the burden of coming forward with a colorable

basis for denying leave to amend.”).

       As explained in Plaintiffs’ motion, ECF No. 118, Plaintiffs’ amendments add, clarify and

update facts that further support Plaintiffs’ claims (with respect to the individual plaintiffs and

the class) including: (i) the addition of events regarding the named plaintiffs that occurred after

the filing of Plaintiffs’ second amended complaint, (ii) a response to allegations made by

Defendants in their motion to dismiss (particularly regarding sponsorship and voluntary

departure processes), and (iii) the addition of information that Plaintiffs have only recently

become aware of concerning Defendants’ implementation of the challenged policy as to
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members of the putative class.1 These types of amendments are “especially favored” – not only

do they “not radically alter the scope and nature of the action,” Estate of Gaither ex rel. Gaither

v. District of Columbia, 272 F.R.D. 248, 252 (D.D.C.2011), they further “fine-tune the basis” for

the relief that Plaintiffs seek by bolstering the facts that support Plaintiffs’ claims and

undermining factual assertions made in Defendants’ motion to dismiss. Gaubatz, 793 F. Supp. 2d

at 324 (noting that the addition of factual allegations that “merely fine-tune the basis for the

relief [sought],” while “not likely to change the outcome of the legal issues presented,” is “rarely

a bad thing” and “certainly does not provide a basis for denying leave to amend”).

       Defendants’ primary argument as to why leave to amend should be denied seems to be

that permitting leave would “delay” this Court’s ruling on their motion to dismiss. Defs.’ Br. at

1–2. But given the early stage of the litigation, “any delay would be minimal.” Norris v. Salazar,

746 F. Supp. 2d 1, 4 (D.D.C. 2010). Moreover, “[c]onsideration of whether delay is undue” –

such that it warrants denial of a motion for leave to amend – should take into account “the

possibility of any resulting prejudice” to the opposing party; indeed, “‘courts may not deny an

amendment solely because of delay and without consideration of the prejudice to the opposing

party.’” Atchinson v. District of Columbia, 73 F.3d 418, 426 (D.C. Cir. 1996) (emphasis added)

(quoting Hayes v. New England Millwork Distribs., Inc., 602 F.2d 15, 19 (1st Cir. 1979)).

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  In asserting that leave to amend should not be “‘freely give[n]’ . . . where a party seeks to ‘cure
deficiencies,’” Defs.’ Br. at 2, Defendants selectively quote the standard set by the Supreme
Court in Foman v. Davis, 371 U.S. 178 (1962), conveniently neglecting to include important
surrounding language. Under the Foman Court’s standard, leave sought should be freely given in
the absence of any apparent or declared reason, which may include “repeated failure to cure
deficiencies by amendments previously allowed.” Id. at 182. Defendants cannot credibly claim
that this Foman factor supports denying Plaintiffs the ability to make amendments that do not
simply “cure deficiencies” but instead add, update and clarify facts that Plaintiffs only became
aware of and/or that only arose after Plaintiffs filed their last amended complaint. Indeed, the
whole purpose of Rule 15(a)(1), allowing a plaintiff to amend after a defendant files a motion
under Rule 12(b), (e), or (f), is to encourage “amending to meet the arguments in the motion.”
Advisory Committee Note on 2009 amendment.
                                                   2
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Defendants did not (and indeed, cannot) “identify any specific way” in which they would be

prejudiced by the Plaintiffs’ amendments, and their “general complaint” with respect to delay is

insufficient. Appalachian Voices v. Chu, 262 F.R.D. 24, 28 (D.D.C. 2009) (finding “no

justification for denying the plaintiffs’ motion” for leave to amend where defendants did not

specify exactly how they would be prejudiced by any delay or show that plaintiffs had

deliberately protracted the disposition of the case); see also Driscoll v. George Washington

Univ., 42 F. Supp. 3d 52, 57 (D.D.C. 2012) (explaining that where “the party opposing

amendment has not put forward a colorable basis of prejudice, the contention of undue delay is

even less persuasive” and finding no prejudice where discovery had not yet commenced and “all

that ha[d] happened so far [was] the filing of the pleadings presently before the Court”) (internal

quotation marks omitted).

       Instead, Defendants merely assert that any “delay” in adjudicating their motion to dismiss

would be, in and of itself, prejudicial. Defs.’ Br. at 1–2. But it is Defendants who are causing the

delay. If they consent to Plaintiffs’ motion to amend, and this Court grants the motion,

Defendants could then immediately file their new motion to dismiss. Instead, Defendants are

dragging out the matter by filing a baseless opposition to Plaintiffs’ motion to amend. Moreover,

as Plaintiffs have argued elsewhere, Defendants’ “mootness” arguments – one of the principal

bases of their motion to dismiss – are meritless. See, e.g., Pls.’ Reply in Supp. of Class Cert 12–

15, ECF No. 56.

       Accordingly, Plaintiffs respectfully request that this Court grant their motion for leave to

amend, ECF No. 118, and issue an order deeming Plaintiffs’ proposed amended complaint, ECF

No. 118-1, to be filed.

DATE: February 21, 2018
                                              Respectfully submitted,

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                            * Motion for admission pro hac vice granted

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